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                                                                                                        Kelly T. Currie
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                                                      November 18, 2021
  BY CM/ECF

  Hon. Laurie Selber Silverstein
  Chief Judge, U.S. Bankruptcy Court, District of Delaware
  824 North Market Street, 6th Floor
  Wilmington, Delaware 19801

  Re:       In re Boy Scouts of America, No. 20-10343

  Dear Judge Silverstein:

         We write regarding the letter submitted by Joseph Grey of Cross & Simon LLC, counsel for
  AVA Law Group, Inc. (Dkt. No. 7324), requesting that the hearing on Insurers’ Omnibus Motion to
  Compel Kosnoff Law PLLC, AVA Law Group, Inc., Napoli Shkolnik, PLLC, Krause & Kinsman Law Firm,
  Andrews & Thornton, Attorneys at Law, and ASK LLP to Respond to Document Requests and Interrogatories
  (“Motion”) (Dkt. No. 7239) be adjourned.

          Following the submission of the letter, counsel for AVA Law Group and the Zurich Insurers
  agreed to (i) reschedule the hearing on the Motion solely with respect to AVA Law Group to
  November 29, 2021 at 2:00 pm Eastern Time and (ii) extend the date by which AVA Law Group has
  to respond to the Motion to November 24, 2021. We conferred with the Court’s Courtroom Deputy
  and understand the Court is available at November 29, 2021 at 2:00 pm and will permit the extension
  of AVA Law Group’s response date to November 24, 2021.

          The hearing on the Motion as to Kosnoff Law PLLC, Napoli Shkolnik, PLLC, Krause &
  Kinsman Law Firm, Andrews & Thornton, Attorneys at Law, and ASK LLP will go forward as
  scheduled on November 19, 2021 at 10:00 am as set forth in the Notice of Amended Agenda of Matters
  Scheduled for Hearing on November 19, 2021, At 10:00 A.M. Eastern Time. See Dkt. No. 7327 at 6.




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Respectfully submitted,

  /s/ Kelly T. Currie                                   /s/ Robert D. Cecil, Jr.
Kelly T. Currie (admitted pro hac vice)               Robert D. Cecil, Jr. (No. 5317)
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